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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 JANE DOE,

         Plaintiff,
                                                       Case No. 19-cv-901-jdp
    v.

 AMATEUR ATHLETIC UNION OF
 THE UNITED STATES, INC.,

         Defendant.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing

plaintiff Jane Doe’s claims against defendant Amateur Athletic Union of the United

States, Inc. for lack of jurisdiction.




         s/V. Olmo, Deputy Clerk                         8/11/2020
         Peter Oppeneer, Clerk of Court                Date
